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                            EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


  IN RE GOOGLE DIGITAL ADVERTISING                    Civil Action No. 1:21-md-03010-PKC
  ANTITRUST LITIGATION


                      PLAINTIFFS’ SECOND SET OF REQUESTS FOR
                     PRODUCTION OF DOCUMENTS TO DEFENDANTS

         Pursuant to Fed. R. Civ. P. 26 and 34, all Plaintiffs in the above-captioned matter, through

  the Court-appointed Discovery Steering Committee, request that Defendants Google LLC,

  Alphabet Inc., and YouTube, LLC (“Defendants”) serve a written response to this Second Set of

  Requests for Production and produce for inspection and copying the documents and other materials

  requested below that are in their possession, custody, or control, or in the possession, custody, or

  control of their attorneys, accountants, and any person(s) acting on their behalf within 30 days.

                                           DEFINITIONS

         The definitions and rules of construction set forth in Fed. R. Civ. P. 26 and 34 and Local

  Civil Rule 26.3 for the Southern District of New York are hereby incorporated and apply to this

  request for the production of documents and other materials. The incorporated definitions as well

  as the definitions set forth below apply without regard to capitalization of these terms in the

  Specific Requests. Plaintiffs reserve the right to serve additional requests for the production of

  documents and other materials.

         1.      “Ad Tech Products” shall mean any and all systems, platforms, and software,

  including predecessors and successors, used in the process of identifying, selecting, transmitting,

  and/or rendering Digital Advertising on a desktop or mobile device, as well as all systems and

  software, including predecessors and successors, that implement and/or effectuate an Ad Auction,

  including receiving, processing, and transmitting Bid Requests, Bid Responses, or related
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  messages. The term includes Publisher Ad Servers, Advertiser Ad Servers, SSPs, DSPs, Demand-

  Side Products, Ad Exchanges, and Ad Networks, and specifically includes Your products: Your

  Publisher Ad Server (formerly called “DoubleClick for Publishers” or “DFP”); Your Ad Exchange

  (formerly called DoubleClick Ad Exchange” or “AdX”), Google Ads (formerly called “Google

  AdWords” or “AdWords”), Display & Video 360 (“DV360”), DoubleClick Bid Manager

  (“DBM”) (also known as “Google Bid Manager”), Campaign Manager, DoubleClick Campaign

  Manager (“DCM”), Google Display Network (“GDN”), Google Ad Manager (“GAM”),

  DoubleClick for Publishers (“DFP”), Google AdSense (also known as “AdSense for Content” and

  “AFC”), DoubleClick for Advertisers (“DFA”), Google Analytics, Google AdMob, Search Ads

  360 (“SA360”), Google Search Network, and any other product or service, however named, that

  You provide, have provided, or will provide for the sale or intermediation of Digital Advertising,

  including all predecessors and successors of such Ad Tech Products.

          2.         “Clone” shall mean an exact copy of a Document, source code repository, or wiki,

  including    all    commits,    comments,    versions,   and   revision   history,   if   any.    See

  https://help.github.com/en/github/getting-started-with-github/github-glossary#clone. Please note

  the instruction above, which requires any responsive dynamic material (e.g., a wiki or repository)

  to be produced in electronic format as a Clone of such material, including all comments, versions,

  commits, revision history, and material from any associated information tracking systems,

  including feature requests, bug reports, issues, sprints, tasks, user stories, project management, and

  trouble tickets.

          3.         “Document” is defined to be synonymous with the broadest possible meaning of

  the word “Documents” as that word is used in Federal Rule of Civil Procedure 34, and shall

  include, but is not limited to, electronically stored information.




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         4.      “General Search Services Market” shall mean the General Search Services Market

  alleged by the United States in U.S. of Am. et al. v. Google LLC, No. 1:20-cv-03010-APM (D.D.C.

  filed Oct. 20, 2020), ECF No. 1.

         5.      “Search Advertising Market” shall mean the Search Advertising Market alleged by

  the United States in U.S. of Am. et al. v. Google LLC, No. 1:20-cv-03010-APM (D.D.C. filed Oct.

  20, 2020), ECF No. 1.

         6.      “You,” “Your,” “Alphabet,” or “Google” shall mean Defendants Google LLC,

  Alphabet Inc., and YouTube, LLC (“Defendants”) and their past and present officers, employees,

  agents and representatives, parents and predecessors, divisions, subsidiaries, affiliates,

  partnerships and joint ventures. The terms “subsidiary,” “affiliate,” and “joint venture” refer to

  any firm in which there is total or partial ownership of 25% or more or total or partial control

  between the company and any other Person or entity.

                                          INSTRUCTIONS

         1.      Please produce the Documents responsive to the numbered requests below that are

  in Your possession, custody, and/or control, including Documents in the possession of Your

  attorneys, accountants, consultants, or other agents.

         2.      The terms defined above and the individual requests for production and inspection

  are to be construed broadly to the fullest extent of their meaning in a good faith effort to comply

  with the Federal Rules of Civil Procedure.

         3.      All Documents are to be produced in full. If any part of a Document is responsive

  to any request, the whole Document is to be produced. Non-responsive portions of otherwise

  responsive Documents may not be redacted.




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         4.      Any alteration of a responsive Document, including notes, underlining, stamps,

  drafts, revisions, modifications, and other versions of a final Document, is a separate Document

  and is to be produced as a separate Document.

         5.      If you file a timely objection to any portion of a request, definition, or instruction,

  please produce Documents responsive to the remaining portion.

         6.      If any Document is withheld, in whole or in part, for any reason, including any

  claim of privilege of any kind, work-product protection, trade secret, or confidentiality, You shall

  provide with respect to each such Document all information required to be furnished by Fed. R.

  Civ. P. 26(b)(5), the Local Rules of the United States District Court for the Southern District of

  New York, and any Order in this case, including any Order regarding Electronically Stored

  Information (“ESI”). There is no basis to withhold Your Documents and information based on

  confidentiality or trade secret assertions alone, as such Documents and information can be

  produced with appropriate confidentiality designations pursuant to the protective order entered in

  this litigation. If a Document is nonetheless withheld on confidentiality or trade secret grounds

  alone, You must explain, and provide any documentation necessary to explain, why such

  Documents cannot be produced with appropriate confidentiality designations pursuant to the

  protective order entered in this litigation. To the extent that any parent Documents and/or

  attachments to parent Documents are withheld on the basis of any privilege or confidentiality

  claim, notwithstanding Instruction No. 3, such parent Document and any attachments withheld

  should be separately identified on a log or list pursuant to this paragraph with information

  sufficient to identify familial relationships between the family of Documents. Any privilege log

  or list is to be produced in an Excel spreadsheet or other format capable of electronic sorting with

  Your response or as otherwise ordered by the Court.




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         7.         Any purportedly privileged Document containing non-privileged material must be

  produced, redacting only the portion purportedly privileged.

         8.         Pursuant to Fed. R. Civ. P. 34(b), all electronically stored information is to be

  produced in native format (including metadata) whenever possible.

         9.         Any responsive dynamic material (e.g., a wiki or repository) should be produced in

  electronic format as a Clone of such material, including all comments, versions, commits, revision

  history, and material from any associated information tracking systems, including feature requests,

  bug reports, issues, sprints, tasks, user stories, project management, and trouble tickets.

         10.        Unless otherwise stated, the Requests seek Documents from January 1, 2007 to the

  present (the “Relevant Time Period”). Because these requests are ongoing, please promptly

  produce any Document discovered or obtained after the service of these requests.

         11.        If any Document responsive to the request cannot be located, please describe with

  particularity the efforts made to locate the Document and the specific reason for its destruction or

  unavailability.

                             SPECIFIC REQUESTS FOR DOCUMENTS

         302.       To the extent not already produced to or publicly available to Plaintiffs, unredacted

  copies of all (1) pleadings; (2) filings, including without limitation all motions, memoranda or

  briefs in support or opposition to all motions, declarations in support or opposition to all motions,

  and any other exhibits, reports, or Documents filed in support or opposition to all motions;

  (3) written discovery, including without limitation the discovery requests, responses, and

  objections, and any production of Documents or information in response to those requests;

  (4) expert disclosures and reports, including all expert backup materials; and (5) transcripts of




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  depositions, in the following litigation: U.S. et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA

  (E.D. Va. filed Jan. 24, 2023).

         303.    Any Documents received from third parties, including without limitation

  (1) communications and other forms of correspondence; (2) subpoenas served upon third parties;

  (3) cover letters including, but not limited to, those accompanying the production of Documents

  produced by third parties; and (4) any other Documents produced to Google, in the following

  litigation: U.S. et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va. filed Jan. 24, 2023).

         304.    To the extent one becomes available, a copy of the unredacted transcript for the

  trial in U.S. et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va. filed Jan. 24, 2023)

  along with unredacted versions of all exhibits offered into evidence that concern Ad Tech Products.

         305.    A copy of the unredacted transcript for the trial in U.S. of Am. et al. v. Google LLC,

  No. 1:20-cv-03010-APM (D.D.C. filed Oct. 20, 2020) along with unredacted versions of all

  exhibits offered into evidence that concern Ad Tech Products; Google’s sale of search advertising

  and ranking of content on its search results pages; market definition regarding the General Search

  Services Market and Search Advertising Market; and Google’s share of and/or control over the

  General Search Services Market and Search Advertising Market.

         306.    All Documents produced by any party, non-party, government investigator or

  enforcer, in connection with:

                 a.      U.S. et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va. filed

  Jan. 24, 2023), whether produced in response to Department of Justice’s pre-suit investigation of

  monopolization, attempted monopolization, monopoly maintenance, and/or contract, combination,

  or conspiracy in restraint of trade or commerce by You in digital advertising markets, or related




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  products and services; produced in discovery in U.S. et al. v. Google LLC, No. 1:23-cv-00108-

  LMB-JFA (E.D. Va. filed Jan. 24, 2023); or otherwise produced.

                 b.      State of Texas et al. v. Google LLC, No. 4:20-cv-957-SDJ (E.D. Tex. filed

  Dec. 16, 2020), whether produced in response to Texas’s pre-suit investigation of monopolization,

  attempted monopolization, monopoly maintenance, and/or contract, combination, or conspiracy in

  restraint of trade or commerce by You in digital advertising markets, or related products and

  services; or otherwise not already produced to all parties in this Multi-District Litigation.

  Dated: September 29, 2023                      Submitted by:

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                                    CERTIFICATE OF SERVICE

         I, Philip Korologos, hereby certify that on September 29, 2023, I caused the foregoing

  Plaintiffs’ Second Set of Requests for Production of Documents to Defendants to be served via

  email on the following counsel:

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  Dated: September 29, 2023               s/ Philip Korologos
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